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                         IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF OREGON

                                     PORTLAND DIVISION



 LAWRENCE P. CIUFFITELLI, for himself                   Case No. 3:16-cv-00580-AC
 and as Trustee of CIUFFITELLI
 REVOCABLE TRUST; GREG and ANGELA
 JULIEN; JAMES and SUSAN                                DECLARATION OF LARISSA
 MACDONALD, as Co-Trustees of the                       GOTGUELF IN SUPPORT OF
 MACDONALD FAMILY TRUST; R.F.                           PLAINTIFFS’ UNOPPOSED MOTION
 MACDONALD CO.; ANDREW NOWAK,                           FOR PRELIMINARY APPROVAL OF
 for himself and as Trustee of the ANDREW               GLOBAL SETTLEMENT
 NOWAK REVOCABLE LIVING TRUST
 U/A 2/20/2002; WILLIAM RAMSTEIN; and



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 GREG WARRICK, for himself and, with
 SUSAN WARRICK, as Co-Trustees of the
 WARRICK FAMILY TRUST, individually
 and on behalf of all others similarly situated,

                 Plaintiffs,

    v.

 DELOITTE & TOUCHE LLP;
 EISNERAMPER LLP; SIDLEY AUSTIN
 LLP; TONKON TORP LLP; TD
 AMERITRADE, INC.; INTEGRITY BANK &
 TRUST; and DUFF & PHELPS, LLC,

                 Defendants.


         I, Larissa Gotguelf, declare under penalty of perjury that the following statements are true

and correct.

         1.     I am a Managing Director in the Corporate Finance/Restructuring practice at FTI

Consulting, financial advisor to the Court-Appointed Receiver of Aequitas Management, LLC

and various of its subsidiaries and affiliates (“Aequitas”). See SEC v. Aequitas Management,

LLC, et al., No. 3:16-cv-00438-JR (D. Or.).

         2.     The Receiver was asked to provide an estimate, applying the definition of the

“Class” as defined at page 4, including the exclusions specified in footnote 2, of Plaintiffs’
Motion for Class Certification [ECF No. 522], of the range of total distributions to members of

that Class from the Receivership Estate. The estimates provided below do not reflect potential

exclusions specified in (d) and (e) of footnote 2 referenced above.

         3.     The Receiver and his team estimate that the Class will receive approximately $64

to $77 million total distributions from the Receivership Estate. This estimate assumes that

between $100 and $120 million is available for distribution from the Receivership Estate to the



PAGE 1 - DECLARATION OF LARISSA GOTGUELF IN SUPPORT OF PLAINTIFFS’
         UNOPPOSED MOTION FOR PRELIMINARY APPROVAL OF GLOBAL
         SETTLEMENT

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investors. We estimate that approximately 64% of the total distribution will be made to members

of the Class.

        4.      The estimates contained herein are preliminary and subject to change, based upon

the actual terms of the distribution plan ultimately approved by the Court and as a result of the

claims process. The estimated distribution amount provided above is based on a calculation that

consolidates investments across various legal entities for the purpose of calculating "rising-tide"

distribution amounts at the investor grouping level. It also assumes that equity holders in entities

such as Aequitas Capital Opportunities Fund, LP, Aequitas ETC Founders Fund, LLC, Aequitas

WRFF I, LLC, Aequitas Hybrid Fund, LLC, and a few other entities retain their investment and

"ride through" with no cash distributions presently envisioned to them. Additionally, in the event

that the actual distribution plan ultimately approved by the Court takes into consideration any

recoveries obtained by investors through their separate legal actions, it will likely affect the

distribution of amounts from the Receivership Estate among the investors including the Class.

       I certify under penalty of perjury under the laws of the United States that the foregoing is

true and correct.


       DATED this 28 day of June, 2019.




                                       Larissa Gotguelf




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         UNOPPOSED MOTION FOR PRELIMINARY APPROVAL OF GLOBAL
         SETTLEMENT

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